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IN THE UNITED sTATEs DIsTRICTf CoURT F§§;El§ `
FoR THE NoRTHERN DISTRICT or TEXA

0 R \ G\ N A\_ DALLAS DIVISIQN

JUL 2 l 2008

 

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UNITED STATES OF AMERICA § f By o

§ Depuly '~_"`
v. § No. 3:08-CR-152-N

§
LAKENDRA IRENE AVERY (12) §

a.k.a. “Kendra” §
EAQHJ_MSLB_@
ELEMENTS

UNLAWFUL USE OF A COMMUNICATION FACILITY
(21 U.S.C. § 843(b))

First.' That the defendant knowingly used a cellular telephone as charged in the
superseding information; and

Second: That the defendant used the cellular telephone with the intent to aid or
assist in the commission of the offense of possession with intent to
distribute a Schedule I controlled substance.

Stipulated Facts
l Avery admits and acknowledges that on or about January 25, 2008, she
communicated with an individual she believed was a customer interested in purchasing
quantities of 3,4~methylenedioxy methamphetamine (ecstacy) but was in fact an
undercover Dallas police officer. Avery admits that after being introduced to the
undercover officer, she contacted a known ecstacy dealer named Terrence Emmanuel
Rone a.k.a. “T-Rone” via cellular telephone with the express intent to aid and assist the

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undercover officer in the purchase o:f ecstacy.

Avery admits that after contacting Rone via cellular telephone, she and the
undercover officer traveled to a shopping center parking lot off of Loop 12 in Dallas,
Texas. Avery admits and acknowledges that after contacting Rone via cellular telephone

a Second time, she directed the undercover officer to drive to an apartment complex

nearby. Avery further admits that once they arrived at the apartment complex, Rone
entered the vehicle with her and the undercover officer and distributed 100 units of

ecstacy to the undercover officer for $550.00 in United States currency.

AGREED ro AND sIGNED this the @a'§y Of .:»~M /4 , 2008.

      

 

RICK CAlTvE'RT

Defendant Assistant United States Attorney
Northern District of Texas

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RoD'ERICK WHITE
Attorney for the Defendant

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